     Case 3:08-cr-04229-JLS        Document 769       Filed 11/17/10       PageID.11195       Page 1 of
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 8                                       UNITED STATES DISTRICT COURT
 9                                  SOUTHERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                       )    Criminal No. 08-CR-4229-JLS
11                                                   )
                            Plaintiff,               )    ORDER GRANTING GOVERNMENT’S
12                                                   )    MOTION TO QUASH SUBPOENA
                                                     )
13 v.                                                )    [Doc. No. 702]
                                                     )
14                                                   )
     WESTERN TITANIUM, INC., et al.                  )
15                                                   )
                            Defendants.              )
16                                                   )
17          Presently before the Court is the Government’s motion to quash a subpoena issued by Defendant
18 Western Titanium, Inc. (“Western”) to the Department of Defense. Having considered the
19 Government’s motion and the response filed by Defendants Western, Daniel Schroeder and Mach 2
20 Metals, Inc. (“Defendants”), the Court concludes that subpoena does not comply with Rule 17 of the
21 Federal Rules of Criminal Procedure. Accordingly, the Government’s motion to quash will be granted.
22                                                  Discussion
23          On October 15, 2010 Defendant Western obtained a subpoena directed to the Custodian of
24 Records, Inspector General, Department of Defense. The subpoena commanded the production of the
25 numerous categories of documents at trial, on October 25, 2010, such as “any and all documents relating
26 to the drafting, issuance, response to, further consideration of, or action in connection with” three
27 identified Memoranda issued by the Department of Defense, “any and all documents similar to the
28 Memoranda” which relate to Defendants, “any and all documents relating to the employment” of case
     Case 3:08-cr-04229-JLS       Document 769        Filed 11/17/10     PageID.11196        Page 2 of
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 1 Agent Mark Dao, and “any and all documents relating to [Defendants’] alleged sale or supply of
 2 nonconforming titanium material not previously provided to [Defendants] as discovery....” Ex. A, Gov’t
 3 Mot. to Quash (Doc. No. 702).
 4          The Government contends that the subpoena does not comply with the standards for issuance of
 5 a subpoena under Federal Rule of Criminal Procedure 17 and that it fails to comply with federal
 6 regulations controlling the disclosure of agency information. Defendants don’t specifically counter
 7 these assertions, but maintain that the subpoena was necessary to prompt the Government to produce
 8 documents it should have produced in discovery long ago.
 9          Having reviewed the subpoena, the Court agrees with the Government’s position that the
10 subpoena is overbroad and does not comply with Rule 17(c) of the Federal Rules of Criminal Procedure.
11 “Rule 17(c) was not intended to provide an additional means of discovery. Its chief innovation was to
12 expedite the trial by providing a time and place before trial for the inspection of the subpoenaed
13 materials.” Bowman Dairy Co. v. United States, 341 U.S. 214, 220 (1951). Thus, Rule 17 is “merely
14 an aid for obtaining relevant and evidentiary materials which the moving party plans to use at trial or in
15 some other court proceeding.” United States v. Noriega, 764 F.Supp. 1480, 1492 (S.D. Fla. 1991),
16 citing United States v. Cuthbertson, 630 F.2d 139, 144 (3d Cir. 1980).
17          The subpoena currently at issue is not directed toward the production of specific evidentiary
18 materials; Defendants are admittedly attempting to use the subpoena as a means of discovery.
19 Furthermore, the Court is not persuaded that an overbroad subpoena is an appropriate remedy for an
20 alleged discovery violation. If Defendants are aware of evidence being withheld by the Government in
21 violation of its discovery obligations, a motion should be brought before this Court.
22                                                 Conclusion
23          The Court finds that the subpoena issued to the Department of Defense does not comply with the
24 requirements of Rule 17(c) of the Federal Rules of Criminal Procedure. Accordingly, the subpoena is
25 HEREBY QUASHED.
26          IT IS SO ORDERED.
27 DATED: November 17, 2010
28                                                       Honorable Janis L. Sammartino
                                                         United States District Judge
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